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                       6
                                                   UNITED STATES DISTRICT COURT
                       7                            FOR THE DISTRICT OF ALASKA
                       8 NORTHLAND SERVICES, INC., a
                         Washington corporation,                                   NO. 3:13-cv-00173-TMB
                       9
                                               Plaintiff,                          PLAINTIFF NORTHLAND
                      10                                                           SERVICES, INC.’S MOTION
                                v.                                                 FOR SUMMARY JUDGMENT
                      11
                         SOUTHEAST EARTHMOVERS, INC., an
                      12 Alaska corporation, and JON MCGRAW, an
                         individual,
                      13
                                               Defendants.
                      14

                      15                                      INTRODUCTION

                      16         This is a straightforward collection matter for non-payment on a promissory note.

                      17 Defendants Southeast Earthmovers, Inc. (SEI) and Jon McGraw (principal of SEI) have

                      18 failed to make any payments owed to plaintiff Northland Services, Inc. (Northland), the
                      19 holder of the note. Northland now seeks summary judgment against defendants, jointly
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                      20 and severally, for the principal sum of the note, accrued interest, and collection costs and
    BAUER
  MOYNIHAN            21 attorneys’ fees allowed under the note. For the reasons detailed below, summary
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                      22 judgment should be granted.
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   (206) 443-3400     23                                            FACTS
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                      24         On June 18, 2013, Northland, a Washington company, agreed to settle outstanding

                      25 business debts owed by SEI, an Alaska company, to Northland, in exchange for SEI and
                      26 McGraw, an Alaska citizen, agreeing to a sign a promissory note for the principal sum of
                           MOTION FOR SUMMARY JUDGMENT
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                       1 $150,000. Dkt. 1-1; Declaration of Bill Northey; Declaration of Thomas Waller, Ex. 1,

                       2 Defendants’ Responses to Plaintiff’s Discovery, p. 7-10 (“Statement of John McGraw”).

                       3 Mr. Northey, Northland’s Senior Vice President, personally witnessed McGraw sign the

                       4 note on behalf of himself (McGraw) and SEI. Northey Decl.

                       5              The note called for payments to be made in increments of $12,000 per month on
                               th
                       6 the 20 day of each month between June 30, 2013 and April 20, 2014, plus an interest rate

                       7 of 18% per annum. Dkt. 1-1, p. 1. The one exception was the first payment, which was to

                       8 be $30,000 and was to be made on June 30, 2013. Id.

                       9              Under the note, “time is of the essence” with regard to the payments due. Id. at p.

                      10 2. Default under the note occurs if defendants fail to make any of the payments set forth

                      11 in the payment schedule. Id. Upon default, Northland can elect to declare the entire

                      12 amount owed due and payable. Id. Legal fees and costs of collection incurred in

                      13 obtaining payments owed under the note are recoverable per the note’s terms. Id.

                      14 Payments recovered are to be applied first to the costs of collection and legal fees, second

                      15 to the payment of accrued interest, and third to the payment of the principal owed. Id. at

                      16 p. 1. Defendants agreed the note is to be governed by the laws of the State of Washington.

                      17 Id. at p. 2.

                      18              Defendants made no payments. Northey Decl.; Waller Decl., Ex. 1, Defendants’

                      19 Responses to First Discovery Requests, p. 3-4 (Response to Interrogatory No. 3); Ex. 2,
                                                                                     1
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                      20 Defendants’ Initial Disclosures, p. 4 (Transactions Detail). Northland filed suit on
    BAUER
  MOYNIHAN            21 September 5, 2013. Dkt. 1, Complaint. Defendants answered on October 25, 2013. In
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                      22 their Answer, defendants admitted they executed and delivered the note to Northland for
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   (206) 443-3400     23 valuable consideration, that McGraw signed the note on his own behalf and that of SEI,
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                      24 and that the note contained a specific payment schedule by which defendants were to

                      25
                           1
                               “Payments” appearing on the Transactions Detail occurred well prior to June 18, 2013, the date the
                      26 promissory note was executed.
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                       1 abide. Dkt. 5, Answer, ¶ 2. Nonetheless, despite not making any payments under the note

                       2 to Northland, defendants denied they were in default under the note. Id., ¶ 3.

                       3              Defendants also asserted three affirmative defenses: (1) “verbal modification of

                       4 contract,” (2) “partial payment;” and (3) “usury.” Dkt. 5, p. 1 (“Affirmative Defenses”).

                       5 Because there is no evidence defendants made any “partial payment,” and because their

                       6 affirmative defenses of “verbal modification of contract” and “usury” fail as a matter of
                                                                               2
                       7 law, summary judgment should be granted to Northland.

                       8                                        ANALYSIS AND ARGUMENT

                       9 A.           SUMMARY JUDGMENT STANDARD

                      10              Under Fed.R.Civ.P. 56(a), “[t]he court shall grant summary judgment if the movant

                      11 shows that there is no genuine dispute as to any material fact and the movant is entitled to

                      12 judgment as a matter of law.” Material facts are those “that might affect the outcome of the

                      13 suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

                      14 The underlying facts are viewed in the light most favorable to the party opposing the

                      15 motion. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

                      16 Once the moving party has met its initial burden of showing the absence of any issue of

                      17 material fact, the burden shifts to the nonmoving party to establish the existence of an issue

                      18 of fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986).
                      19 B.           WASHINGTON LAW APPLIES TO THE NOTE
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                      20              This is a diversity case. Dkt. 1, ¶ 4. “In diversity cases, the district court normally
    BAUER
  MOYNIHAN            21 applies the substantive law of the forum state, including its choice of law rules.” Nelson v.
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                      22
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                               There is also suggestion in defendants’ Initial Disclosures and discovery responses that defendants seek to
   (206) 443-3400     23 offset the money they owe with allegations that Northland owes defendants certain sums for trailer storage.
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                           Waller Decl., Ex. 1, p. 7-10 (“Statement of John McGraw”); Ex. 2, p 3 (July 15, 2013 Invoice). No
                      24 counterclaim for such amounts was made by defendants, and the complete lack of any such allegation in the
                           Answer would obviously fall well short of the pleading requirements of Fed.R.Civ.P. 8, Bell Atl. Corp. v.
                      25 Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). See Dkt. 5, Answer. In short,
                           any counterclaim for trailer storage has not been alleged by defendants and cannot affect summary
                      26 judgment.
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                       1 Int’l Paint Co., 716 F.2d 640, 643 (9th Cir. 1983) (citation omitted). Alaska courts will

                       2 enforce a choice of law provision unless

                       3                   (1) the chosen state has no substantial relationship with the
                                           transaction or there is no other reasonable basis for the
                       4                   parties’ choice, or (2) the application of the law of the
                                           chosen state would be contrary to a fundamental public
                       5                   policy of a state that has a materially greater interest in the
                                           issue and would otherwise provide the governing law.
                       6

                       7 Peterson v. Ek, 93 P.3d 458, 464 n. 11 (Alaska 2004) (citing Restatement (Second) of

                       8 Conflict of Laws § 187 (1971) and enforcing Washington choice of law provision).

                       9         Here, the note calls for the application of Washington law. Dkt. 1-1, p. 2. The

                      10 note was entered into between a Washington company (Northland) and an Alaska

                      11 company (SEI) and citizen (McGraw) for the resolution of debts owed by the latter two to

                      12 a Washington company (Northland). Accordingly, (1) the chosen state, Washington, has a

                      13 substantial relationship to the transaction and (2) both states have an equally valid interest

                      14 in resolving the issues—a contract/collection dispute between citizens of both states.

                      15 Neither state has a “materially greater interest” in resolving the issues presented.

                      16 Peterson, 93 P.3d at 464 n. 11. Regardless, there is no policy at stake here which would

                      17 be contrary to the “fundamental public policy” of Alaska. Id. Accordingly, the choice of

                      18 law provision in the note should be enforced. Washington law should apply to the note’s
                      19 interpretation.
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                      20 C.      THE NOTE’S PLAIN LANGUAGE GOVERNS
    BAUER
  MOYNIHAN            21         Washington courts apply the “objective manifestation theory” of contracts. Hearst
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                      22 Commc’ns, Inc. v. Seattle Times Co., 154 Wn.2d 493, 503, 115 P.3d 262, 267 (2005).
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   (206) 443-3400     23 “Under this approach, [courts] determine the parties’ intent by focusing on the objective
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                      24 manifestations of the agreement, rather than on the unexpressed subjective intent of the

                      25 parties.” Id. (citation omitted). “Thus, when interpreting contracts, the subjective intent
                      26 of the parties is generally irrelevant if the intent can be determined from the actual words
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                       1 used.” Id. at 503-504 (citations omitted). Washington courts “give words in a contract

                       2 their ordinary, usual, and popular meaning unless the entirety of the agreement clearly

                       3 demonstrates a contrary intent.” Id. at 504 (citation omitted). Washington courts “do not

                       4 interpret what was intended to be written but what was written.” Id. (citations omitted);
                                                       3
                       5 see also Subsection D, infra.

                       6              The plain language of the agreement is that Northland extended defendants credit

                       7 in the amount of $150,000. Dkt. 1-1, p. 1. Defendants, jointly and severally were to make

                       8 payments according to the payment plan set forth in the note. Id. at p. 1. Defendants

                       9 having failed to make any such payments are in default under the note. Id. at p. 2. As

                      10 defendants are in default under the note, Northland is entitled to collect the full principal

                      11 amount of the note, interest, costs and attorneys’ fees. Id. Summary judgment should be

                      12 granted.

                      13 D.           THE NOTE CANNOT BE VERBALLY MODIFIED

                      14              Defendants’ first affirmative defense, “verbal modification of contract” fails as a

                      15 matter of law. Under Washington law,

                      16                       A credit agreement is not enforceable against the creditor
                                               unless the agreement is in writing and signed by the
                      17                       creditor. The rights and obligations of the parties to a
                                               credit agreement shall be determined solely from the
                      18                       written agreement, and any prior or contemporaneous oral
                                               agreements between the parties are superseded by, merged
                      19                       into, and may not vary the credit agreement. Partial
                                               performance of a credit agreement does not remove the
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                      20                       agreement from the operation of this section.
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  MOYNIHAN            21 RCW § 19.36.110. “Credit agreement” means
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                      22                       …an agreement, promise, or commitment to lend money, to
SEATTLE, WA 98121                              otherwise extend credit, to forbear with respect to the
   (206) 443-3400     23                       repayment of any debt or the exercise of any remedy, to
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                                               modify or amend the terms under which the creditor has
                      24                       lent money or otherwise extended credit, to release any
                      25
                           3
                               Alaska law is similar: “We depart from the plain language of the contract only if the contract language is
                      26 ambiguous.” Williams v. Crawford, 982 P.2d 250, 253 (Alaska 1999) (footnote omitted).
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                                               guarantor or cosigner, or to make any other financial
                       1                       accommodation pertaining to a debt or other extension of
                                               credit.
                       2

                       3 RCW § 19.36.100. Moreover, RCW § 19.36.140 requires that terms substantially similar

                       4 to the following be placed in conspicuous language on all such credit agreements: “Oral

                       5 agreements or oral commitments to loan money, extend credit, or to forbear from
                                                                                                 4
                       6 enforcing repayment of a debt are not enforceable under Washington law.” This

                       7 language is clearly spelled out in capital letters and boldface just above the defendants’

                       8 signature blocks in the note. Dkt. 1-1, p. 2.

                       9              Northland could not (and did not) agree verbally to forebear the enforcement of the

                      10 note under Washington law. Northey Decl. Nevertheless, any claim by defendants to the

                      11 contrary is moot, as any agreement “to modify or amend the terms under which the

                      12 creditor has lent money or otherwise extended credit” (RCW § 19.36.100) must be in

                      13 writing and signed by the creditor, i.e. Northland (RCW § 19.36.110). The terms of any

                      14 credit agreement, including the note at issue, are to be determined “solely from the written

                      15 agreement, and any prior or contemporaneous oral agreements between the parties are

                      16 superseded by, merged into, and may not vary the credit agreement.” RCW § 19.36.110.

                      17 “Oral agreements or oral commitments to loan money, extend credit, or to forbear from

                      18 enforcing repayment of a debt are not enforceable under Washington law.” RCW §
                      19 19.36.140. Accordingly, defendants’ “verbal modification of contract” defense fails as a
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                      20 matter of law. See, e.g., Cowlitz Bank v. Leonard, 162 Wn.App. 250, 254 P.3d 194
    BAUER
  MOYNIHAN            21 published with modifications at 161 Wash. App. 1007 (2011) (applying RCW §§
& JOHNSON LLP
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                      22 19.36.110 and 19.36.140 and affirming summary judgment over defendant’s assertions of
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   (206) 443-3400     23 oral agreements to forebear repayment of a loan).
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                      24

                      25
                           4
                               Alaska law is similar and requires agreements to lend or extend credit of more than $50,000 to be in
                      26 writing. AS § 09.25.010(a)(13).
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                       1 E.        THERE IS NO EVIDENCE OF ANY PARTIAL PAYMENT

                       2           Defendants would no doubt be entitled to a credit against Northland’s damages if

                       3 defendants had made any payments on the note. Any payments would be credited first

                       4 against Northland costs and legal fees in enforcing the note, then against accrued interest,

                       5 then against the principal amount owed. Dkt. 1-1, p. 1. However, there is no evidence

                       6 that defendants ever made any payments on the note, and Northland expressly denies that

                       7 any such payments were ever received. Northey Decl.; Waller Decl., Ex. 1, p. 4; Ex. 2, p.

                       8 4. Accordingly, this defense also fails as a matter of law.

                       9 F.        DEFENDANTS’ USURY DEFENSE FAILS

                      10           Defendants also allege “usury” as their third and final affirmative defense.

                      11 However, because Northland extended defendants money for the purposes of a

                      12 commercial/business transaction, Washington’s usury statute, RCW § 19.52.005, et seq.,

                      13 is not applicable.

                      14           Under Washington law, “[p]rofit and nonprofit corporations… may not plead the

                      15 defense of usury… and [natural] persons may not plead the defense… if the transaction

                      16 was primarily for agricultural, commercial, investment, or business purposes[.]” RCW §

                      17 19.52.080; Paulman v. Filtercorp, 127 Wn.2d 387, 389, 899 P.2d 1259 (1995) (note
                                                                                                          5
                      18 charging 5% per month interest (60% per annum) held not usurious under statute).
                      19           Here, monies extended to SEI/McGraw necessarily are for commercial and
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                      20 business purposes as the note was presented and accepted by SEI/McGraw to settle
    BAUER
  MOYNIHAN            21 outstanding obligations owed by SEI to Northland. Northey Decl.; Waller Decl., Ex. 2, p.
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    SUITE 2400
                      22 7-10 (“McGraw Statement”). SEI is excluded from pleading the defense of usury
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   (206) 443-3400     23 outright, because it is a corporation (RCW § 19.52.080), and McGraw is precluded from
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                      24

                      25 5 Alaska’s usury statute is also narrowly circumscribed and does not apply to any “contract or loan
                           commitment in which the principal amount exceeds $25,000[.]” AS § 45.45.010; Rockstad v. Erikson, 113
                      26 P.3d 1215, 1221 (Alaska 2005) (loan of $26,000 at 20% interest held not to be usurious under statute).
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                       1 pleading the defense, because the transaction was for business and commercial purposes

                       2 (id.). Therefore, the usury defense is not available to defendants as a matter of law.

                       3 Summary judgment should be granted.

                       4 G.      NORTHLAND’S DAMAGES

                       5         Northland is owed the following as a result of defendants’ default:

                       6      1. The principal amount of $150,000;

                       7      2. Interest in the amount of $17,143.41;

                       8      3. Attorneys’ fees in the amount of $5,019.50;

                       9      4. Costs in the amount of $468.90;

                      10 See Northey Decl., Ex. 1, Interest Accounting; Waller Decl. Northland therefore

                      11 respectfully requests summary judgment be entered against defendants and Northland be

                      12 awarded $172,631.81 against them, jointly and severally. Northland will revise this

                      13 amount upwards should it be required to incur additional legal costs preparing a Reply.

                      14                                       CONCLUSION

                      15         For the reasons stated, summary judgment should be granted in favor of Northland.

                      16 Northland should be awarded $172,631.81, jointly and severally, against defendants.

                      17
                                 Dated this Tuesday, January 28, 2014.
                      18
                      19                                       BAUER MOYNIHAN & JOHNSON LLP
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                      20
    BAUER                                                      s/Thomas G. Waller
  MOYNIHAN            21                                       Thomas G. Waller, AKB #0109052
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                       1 CERTIFICATE OF SERVICE
                           I declare under penalty of perjury of the laws of the state of Alaska that
                       2 on January 28, 2014 I electronically filed the above document with the
                           Clerk of the Court using the CM/ECF system which will send
                       3 notification of such filing to the following:

                       4 Brian E. Hanson                                       [ ] U.S. Mail First Class
                           Brian E. Hanson, LLC                                [ ] E-Mail
                       5   713-B Sawmill Creek Road                            [ ] Facsimile
                           Sitka, Alaska 99835                                 [ ] By Hand
                       6   Tel: 907-747-3257

                       7

                       8 BAUER MOYNIHAN & JOHNSON LLP

                       9 /s/Meliha Jusupovic
                           By: Meliha Jusupovic
                      10   mjusupovic@bmjlaw.com

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